Case 9:13-cr-00021-MAC-CLS           Document 122           Filed 05/15/14   Page 1 of 2 PageID #:
                                            352




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §       CASE NO. 9:13-CR-21(5)
                                                  §
 ROMAIR BOSQUEZ                                   §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

 Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

 Before the United States Magistrate Judge [Doc. #104]. The magistrate judge recommended that

 the Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

 recommended that the Court finally adjudge the defendant as guilty on Count One of the charging

 Information filed against the defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea [Doc. #104] of the United States

 Magistrate Judge are ADOPTED. The Court accepts the defendant’s plea, but defers acceptance

 of the plea agreement until after review of the presentence report. The Court further ORDERS the

 defendant’s attorney to read and discuss the presentence report with the defendant, and file any

 necessary objections to the report before the date of the sentencing hearing.




                                                -1-
Case 9:13-cr-00021-MAC-CLS          Document 122        Filed 05/15/14     Page 2 of 2 PageID #:
                                           353



        It is further ORDERED that, in accordance with the defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Romair Bosquez, is adjudged as

 guilty on Count One of the Information charging violations of 18 U.S.C. § 4.

              So ORDERED and SIGNED this 15 day of May, 2014.




                                                          ___________________________________
                                                          Ron Clark, United States District Judge




                                               -2-
